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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                  MONROE DIVISION

  UNITED STATES OF AMERICA                         *     CRIMINAL NO. 06-30039-09


  VERSUS                                           *     JUDGE JAMES


  CONSUELO SANCHEZ                                 *     MAGISTRATE JUDGE HAYES


                   REPORT AND RECOMMENDATION ON
    FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE


        Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

 consent of the defendant, this matter has been referred by the District Court for administration of

 Conditional Guilty Plea, and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.1

        This cause came before the undersigned U. S. Magistrate Judge for a change of plea hearing

 and allocution of the defendant, Consuelo Sanchez, on June 29, 2007. Defendant was present with

 her counsel, Mr. Robert Johnson.

        After said hearing, and for reasons orally assigned, it is the finding of the undersigned that

 the defendant is fully competent, that her conditional plea of guilty is knowing and voluntary, and

 her conditional guilty plea to Count 35 of the indictment is fully supported by an oral factual basis

 for each of the essential elements of the offense. Therefore the undersigned U. S. Magistrate Judge

 recommends that the District Court ACCEPT the conditional guilty plea of the defendant, Consuelo

 Sanchez, in accordance with the terms of the plea agreement filed in the record of these proceedings,

 and that Consuelo Sanchez be finally adjudged guilty of the offense charged in Count 35 of the

        1
         The guilty plea is conditional because defendant reserved her right to appeal an adverse
 outcome to her motion to suppress.
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 Indictment, reserving her right to appeal an adverse outcome to her motion to suppress.

         Under the provisions of 28 U.S.C. § 636(b)(1)(C) and F.R.C.P. Rule 72(b), the parties have

 ten (10) business days from service of this Report and Recommendation to file specific, written

 objections with the Clerk of Court. A party may respond to another party’s objections within ten

 (10) business days after being served with a copy thereof. A courtesy copy of any objection or

 response or request for extension of time shall be furnished to the District Judge at the time of filing.

 Timely objections will be considered by the District Judge before he makes a final ruling.

         A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

 FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS

 REPORT WITHIN TEN (10) BUSINESS DAYS FROM THE DATE OF ITS SERVICE

 SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR,

 FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL

 FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

         THUS DONE AND SIGNED at Monroe, Louisiana, this 29th day of June, 2007.
